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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA
                                               No. 24 CR 120
               v.

DANIEL DEGANTE                                 Judge Mary M. Rowland



                             JOINT STATUS REPORT

        The United States of America, by MORRIS PASQUAL, Acting United States

Attorney for the Northern District of Illinois, and defendant DANIEL DEGANTE, by

his attorneys DENNIS DOHERTY and STEVEN PICK, hereby jointly submit this

status report pursuant to the Court’s minute order at Dkt. 11.

        1.    Defendant was charged by indictment with knowingly possessing a

machinegun, in violation of 18 U.S.C. § 922(o) (Count One), and unlawful dealing of

firearms, in violation of 18 U.S.C. § 922(a)(1)(A). Dkt. 1. Defendant entered a plea

of not guilty and was released on bond. Dkt. 6 (Arraignment); Dkt. 13 (Order Setting

Conditions of Release).

        2.    Since defendant’s arraignment, the government has produced all

relevant substantive discovery to defense counsel. The discovery produced by the

government consists of law enforcement and arrest reports, video and audio

recordings of controlled gun purchases, subpoena returns, and materials obtained

from a social media website via search warrant.

        3.    At present, defendant is not prepared to request a change of plea or trial

date.    Defendant requests additional time to enable defense counsel to review
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discovery, assess the filing of any non-boilerplate pre-trial motions, and determine

the direction of this case. Accordingly, the parties request another status hearing in

approximately 60 days.

      4.     The parties do not object to the continued exclusion of time under the

Speedy Trial Act, 18 U.S.C. § 3161(h)(7), through the date of the next status hearing.



Date: April 25, 2024

                                       Respectfully submitted,


                                       MORRIS PASQUAL
                                       Acting United States Attorney


                                 By:   /s/ Brandon D. Stone
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